
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida Industrial Commission bearing date December 17, 1965. ■
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 31 F.S.A.
Our consideration of the petition, the record and briefs leads us to conclude that *612there has been no deviation from the essential requirements of law.
The petition is therefore denied.
Attorney for Respondent Antonio Carba-jal is granted a fee in the sum of $250.00.
THORNAL, C. J., and THOMAS, ROBERTS, DREW and ERVIN, JJ., concur.
